

Matter of Azbill (2023 NY Slip Op 01128)





Matter of Azbill


2023 NY Slip Op 01128


Decided on March 2, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 2, 2023

PM-40-23
[*1]In the Matter of David Randall Azbill, an Attorney. (Attorney Registration No. 4142758.)

Calendar Date:February 27, 2023

Before:Garry, P.J., Egan Jr., Lynch, Clark and McShan, JJ.

David Randall Azbill, London, Kentucky, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
David Randall Azbill was admitted to practice by this Court in 2003 and lists a business address in London, Kentucky with the Office of Court Administration. Azbill now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Azbill's application.
Upon reading Azbill's affidavit sworn to January 23, 2023 and filed January 26, 2023, and upon reading the February 22, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Azbill is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Clark and McShan, JJ., concur.
ORDERED that David Randall Azbill's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that David Randall Azbill's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that David Randall Azbill is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Azbill is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that David Randall Azbill shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








